
Quillian, Judge.
Error is assigned to the action of the trial judge in transferring this case from the juvenile court to the superior court. The juvenile in this case has been indicted by the grand jury for arson. The facts are thus identical to those in J. E. v. State of Ga., 127 Ga. App. 589, 590 (194 *103SE2d 288) (decided Nov. 17,1972), where this court held: "A reversal of the juvenile court for erroneous transfer would be a useless act since the superior court has independently exercised its constitutional jurisdiction in receiving the indictment for trial.” This court in that case gave full consideration to the 1971 Juvenile Court Code of Georgia and especially to Code Ann. § 24A-2501 (Ga. L. 1971, pp. 709, 736).
The Constitutional Amendment to Article VI, Section IV, Paragraph I (Code Ann. § 2-3901) adopted November 7,1972 sets out in the resolution the following: "Proposing an amendment to the Constitution so as to provide for concurrent jurisdiction over juvenile offenders in the superior and juvenile courts.” Ga. L. 1972, p. 1544. (Emphasis supplied.) Georgia L. 1973, pp. 882, 883, although superseding Code Ann. § 24A-301 (Ga. L. 1971, pp. 709, 712) contains substantially identical language to that found in the 1971 Act with regard to the jurisdiction of the Juvenile Courts. It reads: "The court shall have exclusive original jurisdiction over juvenile matters and shall be the sole court for initiating action: (1) Concerning any child; (A) who is alleged to be delinquent...” Under Code Ann. § 24A-401 (Ga, L. 1971, pp. 709, 713; 1973, p. 579; 1973, pp. 882, 884), "delinquent act” is defined as: "an act designated a crime by laws of Georgia.”
In Mathis v. State, 231 Ga. 401 (5) (202 SE2d 73), it was contended that the proceedings in the juvenile court certifying the appellant to the superior court did not meet the requirements of the law and that the superior court did not have jurisdiction to try him for the offenses charged. The Supreme Court held: "The superior court has constitutional jurisdiction to try a person accused of a felony if he has reached the age of criminal responsibility. Nothing in the Juvenile Court Code or in the proceedings of a juvenile court can abrogate this jurisdiction.” P. 404. In construing the constitutional amendment, the Supreme Court pointed out that such amendment "only provides that the jurisdiction of the superior courts over juvenile felony offenders is not exclusive, ' in the case of juvenile offenders as provided by law.’ ” P. 405. The Act of 1973 (Ga. L. 1973, p. 882 *104et seq.) insofar as it might conflict with the 1972 Constitutional Amendment must yield to such paramount authority. The rulings in the J. E. case, supra, and the Mathis case, supra, are controlling here.
Argued May 6, 1974
Decided September 20, 1974
Rehearing denied October 24, 1974
Greer, Sartain &amp; Carey, R. Thomas Jarrará, for appellant.
Jeff C. Wayne, District Attorney, Kenneth R. Keene, for appellee.
Barry B. McGough, John L. Cromartie, Jr., amicus curiae.

Judgment affirmed.


Bell, C. J., Eberhardt, P. J., Pannell, P. J., Stolz and Webb, JJ., concur. Deen and Evans, JJ., concur specially. Clark, J., dissents.

